






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00648-CR






Edward Nathaniel Miller, Appellant


v.


The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT

NO. 3013028, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING






M E M O R A N D U M  O P I N I O N



	A jury convicted appellant on a single count of aggravated robbery.  See Tex. Pen.
Code Ann. § 29.03 (West 2003).  The trial court subsequently entered four judgments of conviction
on the single guilty verdict.  On appeal, appellant asked this Court to reform the judgments to reflect
a single judgment of conviction.  The State responded by filing a motion to abate the appeal to
enable the district court to determine whether the judgments arose from clerical error and, if so, to
enable the district court to enter a judgment nunc pro tunc.  We granted the State's motion, abated
the appeal, and remanded the case to the trial court with instructions to determine whether its entry
of the multiple judgments from the single verdict was clerical error and, if so, to enter a judgment
nunc pro tunc to reflect the verdict of the jury.  See Rodriguez v. State, 42 S.W.3d 181, 186 (Tex.
App.--Corpus Christi 2001, no pet.); Smith v. State, 801 S.W.2d 629, 633 (Tex. App.--Dallas 1991,
no pet.).  On remand, the district court found that the multiple judgments were entered due to clerical
error and entered an appropriate judgment nunc pro tunc.

	Because the judgment nunc pro tunc accurately reflects the jury's verdict, and because
appellant raises no other points of error in his appeal, we affirm the judgment of the district court.



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Affirmed

Filed:   July 24, 2003

Do Not Publish


